Case 4:19-cv-07803-DMR   Document 14-1   Filed 09/23/19   Page 1 of 18
Case 4:19-cv-07803-DMR   Document 14-1   Filed 09/23/19   Page 2 of 18
Case 4:19-cv-07803-DMR   Document 14-1   Filed 09/23/19   Page 3 of 18




                         EXHIBIT A
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                      Case 4:19-cv-07803-DMR            Document 14-1         Filed 09/23/19       Page 4 of 18




                How a Video Game Chat Client Became
                the Web's New Cesspool of Abuse
                          Bryan Menegus
                          2/06/17 2:36pm




                Illustration: Elena Scotti


                Over 25 million users have flocked to Discord, a text and voice platform for
                gamers, since its launch in May of 2015. Despite the company raising at least
                30 million in venture capital funding, the company has only five "customer
                experience" personnel and no moderators on its staff. From what I've seen,
                users who wish to engage in harassment, raid servers, or bombard chats and
                users with child pornography suffer no lasting repercussions for doing so.
                That seemingly any server can become the victim of organized attacks
                represents the strained and failing infrastructure of moderation-of

1 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...

                Discord, and of virtually any community on theFiled
                     Case 4:19-cv-07803-DMR             Document 14-1
                                                                    09/23/19
                                                                internet.                          Page 5 of 18


                Though it positioned itself as a scrappy alternative to gamer-friendly VoIP
                software like TeamSpeak and Skype, Discord's robust text chat features have
                made it a hub for a variety online communities. The largest still remain
                pegged to specific games like Overwatch and Pokemon, but many have
                nothing at all to do with gaming. Many forums, subreddits, and imageboards
                are using Discord as a way to connect in real time. "Many of the largest
                Reddits use it," Discord CEO Jason Citron told Gizmodo in an email. "These
                bigger communities may appear to be a large part of Discord, [but] only a
                very small number of people actually participate in them relative to the
                entire Discord population." We'll have to trust Citron that the lion's share of
                users are on Discord for its intended purpose-chatting while gaming-but
                the number who aren't is certainly growing: of the estimated 12,000 servers,
                three of the biggest are directly associated with a subreddit, according to
                unofficial index discordservers.

                Some of these servers, especially the Discord chat spun out of 4chan's far-
                right stomping ground /pol/, use their room to coordinate "raids" on other
                servers with ease and impunity. Trolls acquire invite links to other servers
                and post them in a room called "Raids" (formerly "Raids Defense"),
                encouraging the chat's 1000+ members to descend en masse on vulnerable
                or unsuspecting communities, bringing with them a tidal wave of abuse.
                Other servers have rooms for doxxing-the posting of personally identifying
                information like addresses and phone numbers of victims. Such behavior is a
                clear violation of Discord's Terms of Service, though it seems those rules
                cannot be presently enforced.




2 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse        https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                     Case 4:19-cv-07803-DMR                Document 14-1           Filed 09/23/19       Page 6 of 18




                Screenshot: /pol/ server. Rule 7 codifies raiding for members.


                We spoke with 12 current admins and moderators of a variety of servers over
                Discord or email. Their servers ranged from a few dozen users to over 1,000,
                organized around topics ranging from religion and language learning to
                sexuality and politics. All of them had experienced multiple raids-some on
                a daily basis-and most saw the behavior as increasing in frequency and
                severity. With only one "customer experience" staffer for every 5 million
                users, these admins have developed their own countermeasures.

                No Consequences

                "Everyday there are raids of alt-right people," Seven, an admin of a popular
                server for the discussion of Islam, told Gizmodo. The server focuses mainly
                on the discussion of scripture as well as news in the Muslim world, and has
                rooms in six different languages. An invite to muslim.chat popped up last
                weekend in the /pol/ raids room, prompting a flood of harassment which has
                sadly become commonplace for marginalized groups online. The raids
                typically consist of abusive messages characterizing all Muslims as terrorists
                and insulting their beliefs. Though Seven and his co-admin Iskandar have
                managed to attract a stable base of over 1,000 users, 1,288 others have been
                banned for abuse. "The discord server feels like a besieged city," Seven said
                in a private Discord message. In the course of reporting this story, I also
                received an unsolicited message from an unknown user containing child
3 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                     Case 4:19-cv-07803-DMR                Document 14-1      Filed 09/23/19       Page 7 of 18
                pornography.




                                   "The discord server feels like a besieged city"



                While anti-Muslim sentiment has certainly grown worldwide, religious
                chats appear to be a popular target for raiders and trolls regardless of their
                preferred scripture. Stupiddroid, the owner of Christian discussion server
                Christcord, said he experiences two to three raids a week. Like Muslim.chat,
                Christcord is a place to discuss religion, but also blow off steam with fellow
                believers. "When [trolls] join, most immediately begin spamming offensive
                images and slurs," he said. Politically, the far right are most commonly
                associated with this sort of behavior, which makes the largely Trump-
                supporting server a strange target. "I believe in free speech and am against
                censorship," Stupiddroid wrote while making an obvious distinction:
                "calling someone a 'nig*er' should be ban-worthy." Though banning still
                acts as a first line of defense, it can be easily evaded by using a VPN or
                simply creating a new account. 200 users have been banned from Christcord,
                a server with only 300 regular users.




                Screenshot: Christco rd's "about" ro om.

4 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                     Case 4:19-cv-07803-DMR             Document 14-1
                                                             Filed 09/23/19 Page 8 of 18
                LGBT groups are also frequently raided. Even Gaymers,  which has less than
                100 members, is hit around once a week according to Seneth, the server's
                admin. "Our server is designated LGBTQ+ so as you might imagine we are
                subject to regular attempts at raids and other trolls," Pengu wrote. "I know
                most raids come from 4chan or r/the_donald if a link gets there. It happens
                when someone ignorant feels the need to make themselves feel better by
                harassing others." He pasted an example of raid spam which had recently
                been posted to his server by a user: "kill all fags" in all-caps, 71 consecutive
                times.

                Even servers organized around totally innocuous subject matter get raided.
                The moderator team of a Discord offshoot of a language-learning subreddit
                told Gizmodo they'd experienced a raid over the weekend and that "we were
                raided once before by some nazis who all spammed the same message with
                swastikas." One of them quickly polled a hidden server for admins of similar
                language-learning chats. Of the 25 servers represented, most had
                experienced raids recently.

                How a Server Defends Itself

                The prospect of centralized moderation for 12,000 realtime chat rooms is
                beyond daunting. Discord isn't even remotely staffed to attempt such a feat.
                "We don't moderate each server," Tali Fischer, Discord's Director of PR and
                Events admitted in a chat with Gizmodo. As such, server admins have
                developed their own means to limit the damage from disruptive users.

                "When I joined the server was being constantly raided and there was no
                order," Pengu, the admin of The Furry Room told Gizmodo. Since then, he
                got the former admin to turn the server over to him and he "employed a
                manual verification process, where new users can only talk in two rooms
                which the majority of the server have muted ... The verification I employ is to
                link as many social media accounts as possible, and to prove ownership. If
                the account was created very recently, I ask them kindly to come back in two
                weeks." While this is considerably stricter and more time-consuming than
                how most targeted servers handle raids, "containment rooms" have become
                commonplace. "There are 23 text channels. When someone joins they can

5 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse         https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...

                only see #welcome and #about. Everything elseFiled
                     Case 4:19-cv-07803-DMR                 Document 14-1
                                                                   09/23/19 Page 9 of 18
                                                               is restricted," Seneth told
                Gizmodo.




                Screenshot: r/GameG rumps on Redd it. The Discord invite is linked in the sidebar below th e subreddit rul es.


                Welcome rooms that act as processing centers keep lazier bands of trolls
                from easily harassing communities on Discord. Even Centipede Central,
                Discord's pro-Trump chat, forces new arrivals to type a set phrase for full
                permissions. But as Chozo, the admin of a server spun out of r/GameGrumps
                (the official fan community of YouTube Let's Play channel Game Grumps)
                notes, trolls don't always need numbers to be effective. "Usually it's just a
                few guys running scripts to spam the channels with walls of text or shock
                porn," he told Gizmodo over email. Scripts allow a small number of raiders
                to post at robotic speeds that even the most diligent admin can't keep up
                with.

                Many servers employ bots-built by the Discord community at large, or
                specially made by savvy moderators themselves-to beat back massive raids
                and script spam. "We also have a bot in our server that will enable a 'slow
                mode' in case things get too rowdy, which will make it so that messages in a
                channel can only be displayed at a very slow rate," Chozo wrote. Similar bots
                engage a "raid mode" or "lockdown" which can prevent newly-joined users
                from posting for a set period-a sort of chat-room time out-while the
                moderation team performs the tedious work of kicking or banning
6 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse    https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                    Case 4:19-cv-07803-DMR             Document 14-1          Filed 09/23/19        Page 10 of 18
                troublemakers.




                        "If we put better protection we will annoy people who wont to
                                                                . .    ''
                                                               JO!n.




                Automated and infrastructural countermeasures go a long way to lessening
                the burdens on a targeted server's moderation team, but ultimately the best
                tool to keep bored or hateful losers from shitting up a chat room is vigilance.
                Running a server can very quickly become a full-time job. Even the /pol/
                Discord-the source of a great many raids-has experienced tremendous
                mod turnover in recent weeks, partly because of internal drama, but also
                because many of the admins simply wish to get back to their daily lives
                post-election.

                Though some servers that meet the platform's Partnership Program
                standard are eligible to "get paid hard skrilla $ $ $," only one of the chats
                Gizmodo spoke to was enrolled and, likely on account of its low
                membership, had not been approached to receive compensation.

                There Has to Be a Way In

                Limiting access takes other forms too, and many servers have turned off
                chat functions such as the ability to notify all users with "@everyone." But
                barriers to entry have just as much of an effect on well-intentioned new
                users as they do on abusive ones. Ultimately, the only safe server is one
                completely closed off to everyone, and in the interest of growing their
                communities, it's a step none of the admins we spoke to were willing to
                take.

                "Some time ago, the owner of the server put out a few invite links on Reddit,
                and as such, the search term 'furry discord' brings up the Reddit post
                containing said link as one of the top results," Pengu told Gizmodo,
                describing the push and pull of security versus opportunity. "The simplest
7 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse        https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                    Case 4:19-cv-07803-DMR                 Document 14-1
                                                                Filed 09/23/19 Page 11 of 18
                way to stop these raids is to revoke said link, however   doing so cuts off the
                main source of legitimate people wishing to join."




                Image: /pol/ Discord rai ds room. Server invites can be made to "expire." Some raids are against specific
                people, in this case a former admin.


                The admins of muslim.chat see openness as an opportunity, and raids as an
                inevitable side effect. "We posted the discord server on a lot of pages on
                purpose, we knew this would happen," Seven wrote. "If we put better
                protection we will annoy people who want to join."

                "We also feel this connection from the people who troll us, [who] ... waste
                their time [with] such activity against us," was how Iskandar, a native
                French speaker, framed it, as only the patient or the pious can. "It is because
                we feel the same feeling of marginalization, that we won't close ours arms
                towards them if they want to finally drops the weapons and take a tea with
                us."

                No One to Turn to

                Belying this bargain for visibility is also the feeling that, aside from those in
                the Partner Program with direct access to Discord's developers, there are no
                reinforcements to call on. Discord's Fischer told Gizmodo that, "the
                standard average is 22 hour response time and Discord averages under 1
                hour." If true, the platform's speed is laudable, though it may instead be a
8 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                    Case 4:19-cv-07803-DMR             Document 14-1
                                                            Filed 09/23/19 Page 12 of 18
                result of user not knowing how to make problems   known to the company.

                Snow, the admin of leftist political server and Schan offshoot /leftypol/ told
                Gizmodo, "I was unaware that there was a medium to report to Discord HQ
                If there is, they should make it more easily accessible." Although CEO Jason
                Citron referred us to abuse@discordapp.com, there is no 'report' function
                baked into Discord's UI, and a help search for "report user" doesn't bring up
                a single link which lists that email. Seven wrote, regarding the frequent
                raids, "I don't think they can really help us more." Uncertain recourses in
                the face of flagrant hate speech leads to a sense of inevitability that raids
                and abuse will always continue, or, as Seneth wrote, the feeling that,
                "Ignorant people will always find a way."

                "If content on a server is found to be illegal or in violation of our Terms of
                Service, we shut the server down and we will ban users who are found to be
                complicit in illegal activities," Discord CEO Jason Citron told Gizmodo in an
                email, though the increasing prevalence of abusive raids tell another story,
                as do admin's experiences. Few had heard of users receiving global bans or
                servers being shut down completely. Chozo of the Game Grumps chat was
                the only admin we spoke to who had heard of Discord shutting down
                servers. He said that "as far as I know it's only done in a few very fringe
                cases. The Discord dev team are pretty clear on their policies, and you have
                to act VERY specifically to violate them." Discord would not disclose specific
                examples of users of servers being banned.




                                      "Ignorant people will always find a way"



                Worryingly, Citron noted that "the rate of complaints has actually not
                changed relative to the size of the platform." As moderation staffers of
                absolutely any other platform are likely thinking, such a statement is an
                almost comically obvious red flag.


9 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                    Case 4:19-cv-07803-DMR             Document 14-1
                                                               Filed 09/23/19 Page 13 of 18
                Those Terms of Service Citron mentioned are almost     unenforceably broad,
                though they certainly cover the sort of hate speech and abuse not only
                employed by raiders, but commonplace on the servers they embark from.
                They include users agreeing not to "defame, libel, ridicule, mock, stalk,
                threaten, harass, intimidate or abuse anyone."

                What's Next?

                So far Discord's growth has been nothing short of meteoric, and the
                platform is on track to conceivably eclipse its larger, uglier, and less user-
                friendly competitor Skype in the near future. But early problems have a way
                of compounding themselves. Take, Reddit-the site which has arguably led
                to the greatest amount of non-gaming community growth on Discord-for
                example. Issues of what constituted good or bad user actions were left
                unaddressed for a decade, through multiple staff turnovers, such that CEO
                Steve Huffman told Recode as recently as December that, "There's not a
                crystal-clear line of what behavior is acceptable and not."

                Though still relatively young, Discord has a chance to set an example now.
                The sort of strict top-down moderation present on Facebook is not only
                impossible to implement for real-time chat, but is undesirable for many of
                the users we spoke to. The solution isn't to adopt a Facebook-type
                moderation system; it's to better equip their users to have their grievances
                addressed. Discord needs to make it easier and more obvious for users to be
                able to report and protect themselves, and it needs to invest some of its
                considerable resources into a moderation team that can enforce its Terms of
                Service. Without consequences, toxic servers-like the /pol/ or the
                unabashedly fascist Blood and Soil-will continue to proliferate, making the
                platform more volatile and less appealing to potential users.

                "I have seen raids become more prevalent not only on Discord but on
                imageboards, on social media, everywhere in general. As the world
                destabilizes and what tomorrow will be like looks less and less appetizing to
                some people, the angrier and angrier people get," Snow, the admin of
                /leftypol/ wrote. It's hard to disagree: Twitter is a constant source of threats
                and insults, Facebook is overrun by hyperpartisan falsehoods, infighting has

10 of 11
How a Video Game Chat Client Became the Web’s New Cesspool of Abuse   https://gizmodo.com/how-a-video-game-chat-client-became-the-web-s-...
                     Case 4:19-cv-07803-DMR             Document 14-1
                                                            Filed 09/23/19 Page 14 of 18
                turned sites and moderators against one another, and Discord-a new but
                rising challenger-is already succumbing to the actions of its worst users.
                "What we are seeing now in the 21st century is the basest of human
                politics."


                MODERATION IS A GODDAMN MESS




                ra
                Why Trolls Won in 2016
                                                   ra
                                                   Reddit Says Goodnight to 'Alt-
                                                                                       ra
                                                                                       Reddit Is Tearing Itself Apart
                                                   Right' Community [Updates]




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11 of 11
Case 4:19-cv-07803-DMR   Document 14-1   Filed 09/23/19   Page 15 of 18




                         EXHIBIT B
Discord — Guidelines                                                                                                       https://discordapp.com/guidelines
                       Case 4:19-cv-07803-DMR                   Document 14-1          Filed 09/23/19          Page 16 of 18




                                           Discord Community Guidelines




                         We love playing games with our friends. That is and will continue to be Discord's driving
                         motivation. The relationships, memories, and laughs we experience from gaming are what drive
                         us to create a remarkable product that millions of people use - from small groups of ten friends
                         to extremely large servers where thousands of people can connect.


                         In order to further this philosophy, we've developed the community guidelines below.


                         Note - we do not actively monitor and aren't responsible for any activity or content that is
                         posted; however, we expect server owners, mods, and admins to uphold their servers to these
                         guidelines and we may intervene if community guidelines are not upheld.


                         With that said, on to the community guidelines.


                         THE FOLLOWING IS AWESOME:
                         •   Playing games with your friends.

                         •   Hanging out in communities of peoples.

                         •   Making connections and having fun .


                         THE FOLLOWING IS NOT TOLERATED. WE WILL REMOVE CONTENT AND
                         ISSUE A WARNING. SUBSEQUENT MISCONDUCT AND CASES OF
                         EXTREME SEVERITY WILL RESULT IN ACCOUNT DELETION:
                         •   Organizing and participating in raids or other forms of harassment. Do not engage in or post
                             content encouraging the harassment of individuals or communities. If someone is harassing
                             you or your community, be proactive and block them immediately.

                         •   Circumventing tools that enable users to protect themselves and/or repeatedly targeting a
                             user with unwanted friend requests or messages. Do not create spam accounts for the sake of
                             annoying users with requests or other tactics. Do not disguise yourself in attempt to contact
                             someone who has blocked you . Show respect to other people 's desire for space.

                         •   Sharing illustrated or digitally altered pornography which depicts minors (such as lolicon,
                             shotacon, or cub).

                         •   Sharing content that violates another person's contractual, personal, intellectual property or




1 of 3
Discord — Guidelines                                                                                                            https://discordapp.com/guidelines
                       Case 4:19-cv-07803-DMR                   Document 14-1             Filed 09/23/19           Page 17 of 18

                             other rights. Do not share or post links that violate the Digital Millennium Copyright Act
                             (DMCA). We respond to DMCA requests as described in our Terms of Service.

                         •   Sharing content glorifying or promoting, in general, self-harm or suicide. This includes any
                             content that encourages others to: cut or injure themselves; embrace anorexia, bulimia, or
                             other eating disorders; or commit suicide rather than, for example, seeking counseling or
                             treatment. Online communities have the power to lift people up from dark places - be the kind
                             of person who lifts others. If you notice that someone is in need of urgent help, please contact
                             your local authorities.

                         •   Spamming of the support or trust & safety team. Do not use these channels to make false
                             reports or spam multiple reports to Discord. We are committed to addressing each item as it
                             comes in as quickly as we can .

                         •   Not properly labeling NSFW channels. Some content just isn't appropriate for kids under 18, so
                             let's do the right thing in our community and label any channel containing adult content as
                             NSFW. This will add an age gate to the channel, protecting those who wish not to see.

                         •   Sharing images of gore and/or animal cruelty. Do not share or post graphic images for sadistic
                             pleasure, glorification or celebration of violence.


                         THE FOLLOWING IS COMPLETELY UNACCEPTABLE AND WILL RESULT IN
                         IMMEDIATE CONTENT REMOVAL AND ACCOUNT DELETION:
                         •   Sharing content that is directly threatening someone's physical or financial state. Do not
                             threaten to harm another person or someone related to another person in any capacity. Do not
                             tell other people you will hurt or kill them. Do not dox people. Do not share or threaten to share
                             personal information of another user - this includes but is not limited to home address, phone
                             number, email, social security number, and photos. Respect other people's desire for privacy.

                         •   Doing anything illegal on Discord. This is directly from our Terms of Service. We will take
                             immediate action if you : violate any applicable laws or regulations, or promote or encourage
                             any illegal activity including, but not limited to, hacking, cracking or distribution of pirated
                             software, or cheats or hacks for our or another company or person's Service.

                         •   Sharing content related to minors that is sexually suggestive or violent. Do not share or post
                             links to images that depict minors or underage individuals engaged in violent, sexually
                             suggestive, pornographic, shameful, or otherwise inappropriate situations.

                         •   Sharing or linking to content with intent to shame or degrade another individual. Do not share
                             sexually explicit content of other people without their consent. Do not share or promote
                             sharing of revenge porn.

                         •   Distributing viruses. Do not engage in or promote phishing activities. Do not threaten another
                             user with digital harm including but not limited to viruses, hacking, and spying.

                         •   Attempting to steal another user's account.


                         To report any of the above activity, please send an email to <abuse@discordapp.com> .


                         Sidenote, if you're looking to level up your security on Discord, learn how here. You can also level
                         up your server's security.



2 of 3
Discord — Guidelines                                                                                                                     https://discordapp.com/guidelines
                       Case 4:19-cv-07803-DMR                   Document 14-1                     Filed 09/23/19            Page 18 of 18

                                                                       Get more help




                                 Email Support                               Discordapp                              Help Center

                                  Email us at                          Follow us or tweet at us                 A ll you need to know in
                           support discordapp.com.                       for qu ick questions.                          one place.




                                     Product         Developers                  Resources             Company             More

                                     Download        Sell Your Game              Help & Support        A bout              Partners
                                     Branding        Ri ch Presence              Guidelines            Blog                Hype Squad
                                     Nitro           Veri fi ca tion             Fee dback             Jobs                Merch Store
                                                     Applications                Terms                                     Press Inquiries
                                                     Documenta tion              Privacy                                  Open Source
                                                                                 Status




                           Ready to try Discord? It's free!                                                                Si gn Up Now
                           JOIN OVER 250 MILLION PLAYERS TODAY




3 of 3
